Case 9:17-cr-80242-RLR Document 28 Entered on FLSD Docket 11/01/2018 Page 1 of 2




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                                                                                 STEVEN M LARIMORE
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                                   N O TIC E O F A PPEA R AN C E

          The U nited States ofA m erica hereby givesnotice thatA ssistantUnited StatesAttorney

   Nalina Som buntham hasbeen assigned responsibility ofm atters related to crim inalforfeiture in

   the above-captioned case.

                                               Respectfully subm itted,

                                               ARIAN A FA JA RD O O RSHAN
                                               UN ITED STA TES A TTORN EY

                                        By:    s/Nalina Som buntham
                                               N alina Som buntham
                                               A ssistantU nited StatesAttorney
                                               Fla.BarN o.96139
                                               99 N .E.4th Street,7th Floor
                                               M iam i,Florida 33132-2111
                                               Telephone: (305)961-9224
                                               Facsimile: (305)536-7599
                                               nalina.sombunthamz@ usdoj.gov
Case 9:17-cr-80242-RLR Document 28 Entered on FLSD Docket 11/01/2018 Page 2 of 2




                                 C ERTIFICA TE O F SER VIC E

          IH ER EBY C ER TIFY that,on O ctober 31,2018,1electronically filed the foregoing

   N otice ofA ppearance w ith the C lerk ofthk!Courtusing CM /ECF.

                                              s/N alina Som buntham
                                              N alina Som buntham
                                              A ssistantUnited StatesA ttorney
